             Case 8:15-bk-10728-MGW         Doc 171    Filed 06/25/19    Page 1 of 3



                                       ORDERED.


      Dated: June 25, 2019




                             UNITED STATES BANKRUPTCY COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION

 In re:                                            Case No. 8:15‐bk‐10728‐MGW

                                                   Chapter 7

 Kay Johnson




          Debtor        /

            ORDER AUTHORIZING THE CHAPTER 7 TRUSTEE TO
RETAIN BK GLOBAL REAL ESTATE SERVICES AND FINE PROPERTIES A FLORIDA
    CORPORATION TO PROCURE CONSENTED PUBLIC SALE PURSUANT TO
                       11 U.S.C. §327, 328 AND 330

          THIS CASE came on for consideration on the Notice and Application of Traci Stevenson, the

trustee in the above-captioned case (“Trustee”), to Retain BK Global Real Estate Services and Fine

Properties a Florida Corporation to Procure Consented Public Sale pursuant to 11 U.S.C. § 327, 328

and 330 (“Application”) [Docket No. 170], the Court having reviewed and considered the Notice,

                                                  7
            Case 8:15-bk-10728-MGW          Doc 171      Filed 06/25/19     Page 2 of 3



Application and the Affidavit of Disinterestedness and having found good and sufficient cause

appearing therefore and the same to be in the best interest of Debtor and the creditors the Court hereby

FINDS that:

            A. The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 157(b)(2).

            B. Venue of this Chapter 7 case and the Application is proper pursuant to 28 U.S.C. §§

       1408 and 1409.

            C. Notice of the Application was sufficient under the circumstances.

               Based upon the foregoing findings of fact, it is hereby

               ORDERED, ADJUDGED, AND DECREED that:

       1.      The Application is hereby GRANTED.

       2.      Defined terms not otherwise defined herein have the meanings given to them in the

Application and the Affidavit.

       3.      The Trustee is authorized to retain and compensate BKRES and Listing Agent to

market and sell the Property, in Debtors’ Chapter 7 case pursuant to Sections 327, 328(a) and 330 of

the Bankruptcy Code, and Bankruptcy Rules 2014 and 2016, in accordance with the terms and

conditions set forth in the BKRES Agreement, the Listing Agreement and this Order. BKRES and

Listing Agent shall not split or otherwise share their fees with any other person or entity.

       4.      BKRES and Listing Agent are disinterested persons within the meaning of

Bankruptcy Code Section 101(14).

       5.      BKRES and Listing Agent shall be compensated in accordance with the BKRES

Agreement and Listing Agreement, respectively, and such compensation shall not hereafter be

subject to challenge except under the standard of review set forth in Section 330 of the Bankruptcy

Code. Compensation will be determined later in accordance with 11 U.S.C. § 330.

                                                   8
            Case 8:15-bk-10728-MGW          Doc 171      Filed 06/25/19     Page 3 of 3



       6.      BKRES and Listing Agent shall be authorized to receive and retain their fees at the

successful closing of the sale of the Property without necessity of further order of the Court. The

estate shall, in no circumstance, be obligated to compensate BKRES or Listing Agent in such event

and BKRES and Listing Agent shall not have a claim against the estate for any unpaid amounts.

       7.      Notice of the Application was adequate and proper.


         8.    This Court shall retain jurisdiction to hear and determine all matters arising from or

related to the implementation of this Order.

                                                  ###

Submitted By:
Traci K. Stevenson
Chapter 7 Trustee
P.O. Box 86690
Madeira Beach, FL 33738
Phone: (727) 397-4838




Trustee Traci K. Stevenson is directed to serve a copy of this order on interested parties and file
a proof of service within 3 days of entry of the order.




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